Case 3:19-cv-07071-SI   Document 359-20   Filed 12/01/23   Page 1 of 10




                 Exhibit 19
Case 3:19-cv-07071-SI   Document 359-20   Filed 12/01/23   Page 2 of 10
Case 3:19-cv-07071-SI   Document 359-20   Filed 12/01/23   Page 3 of 10
Case 3:19-cv-07071-SI   Document 359-20   Filed 12/01/23   Page 4 of 10
Case 3:19-cv-07071-SI   Document 359-20   Filed 12/01/23   Page 5 of 10
Case 3:19-cv-07071-SI   Document 359-20   Filed 12/01/23   Page 6 of 10
Case 3:19-cv-07071-SI   Document 359-20   Filed 12/01/23   Page 7 of 10
Case 3:19-cv-07071-SI   Document 359-20   Filed 12/01/23   Page 8 of 10
Case 3:19-cv-07071-SI   Document 359-20   Filed 12/01/23   Page 9 of 10
Case 3:19-cv-07071-SI   Document 359-20   Filed 12/01/23   Page 10 of 10
